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                    IN THE UNITED STATES DISTRICT COURT
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                   FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,     ) 1:04-CR-05278 OWW
                                   )
12                  Plaintiff,     ) ORDER TO CONTINUE
                                   ) SENTENCING HEARING AND
13                                 ) GOVERNMENT’S RESPONSIVE DATE
               v.                  )
14                                 )
     IGNACIO SOTO HINOJOSA,        )    Date: July 17, 2006
15                                 )    Time: 9:00 a.m.
                    Defendant.     )    Courtroom 2
16   ______________________________)
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          IT IS SO ORDERED THAT the date for the sentencing hearing of
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     defendant IGNACIO SOTO HINOJOSA be continued from July 17, 2006
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     at 9:00 a.m. to July 31, 2006 at 9:00 a.m. and that the
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     government’s response to defendant’s objections to the
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     presentencing report be due on July 17, 2006.
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     Dated: July 14, 2006          /s/ OLIVER W. WANGER_______
24                               OLIVER W. WANGER
                                 United States District Judge
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